 Case 3:09-cr-00099       Document 440        Filed 04/18/14     Page 1 of 2 PageID #: 1827




                   IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 HUNTINGTON DIVISION


THOMAS ANTONIO REDDING,

                             Movant,

v.                                                  CIVIL ACTION NO. 3:12-8434
                                                    (Criminal No. 3:09-00099-03)
UNITED STATES OF AMERICA,

                             Respondent.


                        MEMORANDUM OPINION AND ORDER


       This action was referred to the Honorable Cheryl A. Eifert, United States Magistrate Judge,

for submission to this Court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of fact and

recommended that Movant’s Motion to Vacate, Set Aside or Correct Sentence pursuant to 28

U.S.C. § 2255 (ECF No. 366) be denied to the extend Movant seeks retroactive application of the

Fair Sentencing Act; Movant’s Motion be construed as a Motion for a Sentence Reduction under

18 U.S.C. § 3582(c)(2) to the extent that Movant seeks consideration of his sentence in light of

Amendments 750 and 759 to the United States Sentencing Guidelines; and Movant’s sentence be

reviewed accordingly. Neither party has filed objections to the Magistrate Judge=s findings and

recommendations.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and DENIES Movant’s Motion to Vacate, Set Aside or Correct Sentence

pursuant to 28 U.S.C. § 2255 (ECF No. 366) to the extend Movant seeks retroactive application of
 Case 3:09-cr-00099       Document 440        Filed 04/18/14    Page 2 of 2 PageID #: 1828




the Fair Sentencing Act. The Court will construe Movant’s Motion as a Motion for a Sentence

Reduction under 18 U.S.C. § 3582(c)(2) to the extent that Movant seeks consideration of his

sentence in light of Amendments 750 and 759 to the United States Sentencing Guidelines, and will

review the motion accordingly. Movant may have until May 18, 2014, to file any additional

briefing.

       The Court DIRECTS the Clerk to forward copies of this written opinion and order to all

counsel of record, and any unrepresented parties.



                                             ENTER:        April 18, 2014




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